       Case 9:18-cr-80166-DMM Document 129 Entered on FLSD Docket 08/14/2019 Page 1 of 1

U.S. Depa.rtment of Justice                                                              PROCESS RECEIPT AND RETURN
                                                                                         See Instructions for "Service of Process by the U.S. Marshal"
United States Marshals Service                                                           on rhe reverse of this form .

PLAINTIFF                                                                                                                COURT CASE NUMBER

          United States of America                                                                                   ~   18-80166-CR-MIDDLEBROOKS(Se
DEFENDANT                                                                                                                TYPE OF PROCESS
          Nicholas Wukoson                                                                                               Final Order of Forfeiture
SERVE                      NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN




       •AT l c/o FBI
                     .   One (1) silver HP laptop, SN: 5CD6510165 and One (1) black HP laptop, SN : 5CD51334FQ
                           ADDRESS (Street or RFD, Apartment No., City. State and ZIP Code)



~E~~~!!£!:.2.E. g:~,!f~ £.O!_Y_'i:2 ~~!:!_E1_T~~'!!: .!:!~~ ~~,1-£D~~~ ~!:.O~:.....-: Number                         of process to be
                                                                                                           I served with this Fonn • 285
              ~      iam T. Zloch , ALISA                                                                   I                                                   1
                  U.S. Attorney's Office
                  500 S. Australian Avenue, Suite 400                                                      : Number of panies 10 be
                  West Palm Beach , FL 33401-6235                                                          I served in this case
                                                                                                                                                                1
              L                                                                                            :___________..._________
                                                                                                                Check for service
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , on U.S .A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Altemate Addresses, All
Telephone Numbers, and Estimated Times Available For Service):
Fold                                                                                                                                                                      Fold


Agency# 3051-MM-2232348
CATS# 18-FBl-006404




                                       inalor requesting service on behalf of:                                  TELEPHONE NUMBER
                                                                                          [Z] PLAINTIFF
                                           William T. Zloch                               0   DEFENDANT          561-820-8711


 SPACE B WW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BEWW TIDS LINE
I acknowledge receipt for the total Total Process District                District       Signature of Authorized USMS Deputy or Clerk                           Date
number of process indicated .                     of Origin               10   Serve
(Sign only first USM 285 if more
than one USM 285 is submitted)                    No . _ _ _              No . _ _ _

I hereby cenify and return that IO have personally served, D have legal evidence of service, D have executed as shown in ·'Remarks", the process described
on the individual, company, corporation. etc ., at the address shown above or on the individual. company. corporation, etc . , shown 'at the address inserted below.

D      I hereby certify and return that I am unable to locate the individual, company, corporation. etc .. named above (See remarks below)

Name and title of individual served (if not shown above)                                                                            A person of suitable age and dis-·
                                                                                                                             D      cretion then residing in th!! defendant's
                                                                                                                                    usual place of abode.
Address (complete only if different than shown above)                                                                                              Ti;ne                   am
                                                                                                                                                       57
                                                                                                                                                     II:-                  pm




       Service Fee       Total Mileage Charges    Forwarding Fee     Total Charges     Advance Deposits    Amount owed to
                          (including endeavors)


REMARKS:




PRIOR EDffiONS                                                                                                                          FORM USM-285 (lle,r. l2/15/IIO)
MAY BE USED
